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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

FABIOLA ROSILES, as Independent Administrator          )
For the Estate of ABEL ROSILES, JR., deceased,         )
                                                       )
             Plaintiff,                                ) Case No. 21-cv-3236
                                                       )
       vs.                                             )
                                                       ) Judge Lindsay C. Jenkins
VILLAGE OF ROUND LAKE BEACH,                           )
J. SCHEITHE, J. BERTHOLOMEY, T. CRAMER, and            ) Magistrate Judge Gabriel A. Fuentes
H. ATWELL,                                             )
                                                       )
             Defendants.                               )

                                   EXHIBIT INDEX

Exhibit A    Deposition of Witness, Thorntons Clerk Antwan Stanley

Exhibit B    Deposition of Witness Shelby Brubaker

Exhibit C    Thorntons Surveillance Video – FRONT DOOR MAIN

Exhibit D    Thorntons Surveillance Video – COFFEE

Exhibit E    Deposition of Defendant Officer John Bertholomey

Exhibit F    Thorntons Surveillance Video – PUMPS 2

Exhibit G    Deposition of Defendant Officer Timothy Cramer

Exhibit H    Deposition of Defendant Officer Heath Atwell

Exhibit I    Defendant Officer Timothy Cramer Squad Video 3 (ROUNDLAKE 3659)

Exhibit J    Deposition of Defendant Officer Jeremiah Scheithe

Exhibit K    Defendant Officer Jeremiah Scheithe Squad Video 3 (ROUNDLAKE 3662)

Exhibit L    Cell Phone Video of Incident taken by Decedent’s girlfriend, Sinahy Gomez-Reyes

Exhibit M    Village of Round Lake Heights Officer Terry Kaminski Bodycam Video (Pl.’s 182)

Exhibit N    Deposition of Decedent’s girlfriend, Sinahy Gomez-Reyes

Exhibit O    Report of Defendants’ Expert Dr. Scott Denton
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Exhibit P   Deposition of Plaintiff’s Expert Dr. Michael Baden

Exhibit Q   Affidavit of Village of Round Lake Heights Officer Terry Kaminski

Exhibit R   Deposition of Greater Round Lake FPD Firefighter Todd Lucassen

Exhibit S   Deposition of Greater Round Lake FPD Battalion Chief Tony Carraro

Exhibit T   Deposition of Dr. Mark Witeck (Pathologist)




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